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December 5, 2017
VIA ELECTRONIC AND FIRST CLASS MAIL
Jessie Lyons Crawford, Esq.

The Law Offices of Jessie Lyons Crawf`ord, LLC
2601 Maryland Avenue

: Baltimore, Maryland 21218

attorneyjlcrawford@verizon.net

RE: Pajotte v. W.MATA, et al.; Case No. CAL16-40434
Prince William County Circuit Court

Dear Counsel:

We recently were served with your Third Amended Complaint in the above-
referenced matter, with the only count alleged against the Washington Metropolitan Area
z Transit Authority (“WMATA”) being Count II, a purported ERISA violation. WMATA,
however, is an inter-jurisdictional compact agency, that is treated as a state level agency
within the Fourth Circuit. See Lizzi v. Alexander, 255 F.3d 128, 132 (4th Cir. 2001)
(“WMATA is a state agency, subject to all the benefits and liabilities of a state itself . . . It
does not matter that WMATA was created by interstate compact, as opposed to being an
agency of one state alone.”) As you surely are aware, employee benefit plans established and
maintained for employees of a state agency are specifically excluded from coverage under
ERISA. 29 U.S.C.A. § 1003 titled “Coverage” states in relevant part:

(b) Exceptions for certain plans
The provisions of this subchapter shall not apply to any
employee benefit plan if -
(l) such pan is a governmental plan (as defined in
section 1002(32) of this title);

(emphasis added). 29 U.S.C.A. § 1002(32) in turn states in part:

The term “governmental plan” means a plan established or
maintained for its employees by the Govemment of the United
States, by the government of any State or political subdivision
thereof, or by any agency or instrumentality of any of the
foregoing

There being no basis for your client’s claim(s) against WMATA, please let us know by M
of business on Thursdav, December 7, 2017, whether you will voluntarily be dismissing
WMATA from this lawsuit. In the alternative, we are prepared to remove the case to the

United States District Court for the District of Maryland (see Md. Code Ann., Transp. § lO-
204(81)), and seek immediate dismissal Any advancement of this claim is without
substantial justification and/or lacks good faith.

 

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Feel free to reach me directly by email at RCoel@wmata.com or by phone at (202)
962-6096. Thank you for your prompt attention to this matter.

  

. Richard Coel
Senior Counsel

